Case 3:16-cv-00594-JAH-BGS Document 30 Filed 01/06/17 PageID.173 Page 1 of 5



 1
 2
 3
 4
 5
 6
 7
 8                         UNITED STATES DISTRICT COURT
 9                   SOUTHERN DISTRICT OF CALIFORNIA
     ROBERT BOSCH GMBH and,          Case No. 3:16-CV-00594-JAH-BGS
10   ROBERT BOSCH LLC
                                     STIPULATED PERMANENT
11            Plaintiffs,            INJUNCTION AND FINAL
12         v.                        JUDGMENT ON CONSENT
                                     AGAINST DEFENDANT MUSCLE
13   MUSCLE MOTORS PERFORMANCE,      MOTORS PERFORMANCE, INC.;
     INC.,                           AND ORDER THEREON
14
                  Defendant.
15
16
17         Plaintiffs Robert Bosch GmbH and Robert Bosch LLC (hereinafter,
18   “Plaintiffs”) filed their Complaint on March 9, 2016, against Defendant Muscle
19   Motors Performance, Inc. (hereinafter, “Defendant”) for counterfeiting, trademark
20   infringement, unfair competition, false advertising, and cybersquatting in violation of
21   the Lanham Act, and for unfair competition and false advertising in violation of
22   California law. Plaintiffs’ Complaint is based on allegations that Defendant offered for
23   sale and sold counterfeit BOSCH fuel pumps, that it sold certain modified BOSCH
24   fuel injectors, that it falsely advertised that certain BOSCH fuel injectors were
25   compatible with fuels with which they were not compatible, and that it engaged in
26   cybersquatting with respect to the <boschdealer.com> domain name. Defendants
27   deny these allegations.
                               5       Case No. 3:16-CV-00594-JAH-BGS
28     STIPULATED PERMANENT INJUNCTION AND FINAL JUDGMENT ON
     CONSENT AGAINST DEFENDANT MUSCLE MOTORS PERFORMANCE, INC.;
                         AND ORDER THEREON
Case 3:16-cv-00594-JAH-BGS Document 30 Filed 01/06/17 PageID.174 Page 2 of 5



 1         THE COURT FINDS AS FOLLOWS:
 2         1.     This Court has jurisdiction of the subject matter of this action and over
 3   the parties hereto, and venue is proper.
 4         2.     Plaintiff Robert Bosch GmbH is the owner of the incontestable BOSCH
 5   and        trademarks described in the Complaint (collectively, the “BOSCH Marks”),
 6
 7   which are valid and enforceable in law. For many years, and long before Defendant’s
 8   acts subject to the Complaint, Robert Bosch GmbH and its licensees have used the
 9   BOSCH Marks in the United States in connection with the sales of automotive parts,
10   including fuel pumps and fuel injectors. Robert Bosch GmbH is the sole proprietor of
11   all right, title, and interest in and to the BOSCH Marks.
12         3.     Plaintiff Robert Bosch LLC has used the BOSCH Marks for many years,
13   has sold billions of dollars’ worth of goods and services in the United States under the
14   BOSCH Marks, and has spent substantial sums marketing and promoting goods and
15   services under the BOSCH Marks.
16         4.     The BOSCH Marks have become well-known and famous in the United
17   States, and the BOSCH Marks represent extremely valuable goodwill for Plaintiffs.
18         5.     Plaintiffs have alleged that Defendant is responsible for the conduct
19   alleged in the Complaint.
20         6.     Defendant has denied the allegations of counterfeiting, trademark
21   infringement, unfair competition, false advertising, and cybersquatting in violation of
22   the Lanham Act, and for unfair competition and false advertising in violation of
23   California law raised in the Complaint.
24   ///
25   ///
26   ///
27   ///
28   ///
                                  6     Case No. 3:16-CV-00594-JAH-BGS
       PERMANENT INJUNCTION; FINAL JUDGMENT; AND ORDER THEREON
Case 3:16-cv-00594-JAH-BGS Document 30 Filed 01/06/17 PageID.175 Page 3 of 5



 1          NOW THEREFORE:
 2          Judgment is hereby entered in favor of Plaintiffs and against Defendant as
 3   follows:
 4          I.     Permanent Injunctive Relief
 5          Defendant and its agents, representatives, attorneys, shareholders, officers,
 6   directors, employees, parents, subsidiaries, affiliates, predecessors, successors,
 7   assigns, and licensees, and all other persons in active concert or participation with
 8   them who receive notice hereof are enjoined and restrained permanently from:
 9          A.     Using the BOSCH Marks, or any marks similar thereto, or any
10   reproduction, counterfeit, copy, or colorable imitation of the BOSCH Marks, in
11   connection with the promotion, marketing, advertising, offering for sale, or sale of
12   non-BOSCH goods or services, i.e., goods or services that are not produced by
13   Plaintiffs, or which do not originate from Plaintiffs.
14          B.     Promoting, marketing, advertising, offering for sale, or selling any
15   modified BOSCH branded products without also clearly disclosing that such
16   modifications do not originate from, and are not endorsed or sponsored by Plaintiffs,
17   and are therefore no longer “genuine” BOSCH products.
18          C.     Applying the BOSCH Marks, or any reproduction, counterfeit, copy or
19   colorable imitation of the BOSCH Marks, to any advertisement, website, point of
20   purchase materials, catalog, brochure, sign, print, press release, or other material used
21   in connection with the sale and/or offering for sale of any non-genuine BOSCH
22   products.
23          D.     Using any trademark, trade name, logo, indicia or design that tends to
24   falsely represent that, or that is likely to confuse, mislead, or deceive consumers to
25   believe that any non-genuine BOSCH products originate from Plaintiffs, or that said
26   goods have been sponsored, approved, or licensed by, or are in some way connected
27   or affiliated with Plaintiffs.
28   ///
                                  7     Case No. 3:16-CV-00594-JAH-BGS
       PERMANENT INJUNCTION; FINAL JUDGMENT; AND ORDER THEREON
Case 3:16-cv-00594-JAH-BGS Document 30 Filed 01/06/17 PageID.176 Page 4 of 5



 1          E.     Engaging in any conduct that tends falsely to represent that, or is likely to
 2   confuse, mislead, or deceive consumers, to believe that Defendant and any non-
 3   genuine BOSCH products are sponsored, approved, or licensed by Plaintiffs, or are in
 4   some way connected or affiliated with Plaintiffs.
 5          F.     In connection with the promotion, advertising, sale, and/or offering for
 6   sale of any BOSCH branded products, using a false description or representation, or a
 7   misleading statement of fact, that misrepresents the nature, qualities, characteristics,
 8   standard, grade, style, or model of such products, including but not limited to, falsely
 9   representing that non-genuine products are genuine BOSCH products or that BOSCH
10   products are compatible with fuel types with which they are not compatible.
11          G.     For a period of three (3) years from the date of this Permanent Injunction
12   and Final Judgment, destroying or otherwise disposing of any sales records, ledgers,
13   invoices, purchase orders, advertising agency contracts or placement orders, inventory
14   control documents, recordings of any type whatsoever, and all other business records
15   and documents believed to concern the promotion, marketing, advertising, offering for
16   sale, or sale of any fuel pump or fuel injector referenced in Plaintiffs’ Complaint.
17          II.    Transfer of the <boschdealer.com> Domain Name
18          Defendant shall transfer the <boschdealer.com> domain name to Plaintiff
19   Robert Bosch LLC. Within ten (10) days of the Effective Date, Defendant shall
20   initiate a transfer of the domain name to Plaintiff Robert Bosch LLC via its registrar
21   of record. The transfer shall be effectuated through Plaintiffs’ counsel at Pattishall,
22   McAuliffe, Newbury, Hilliard & Geraldson LLP. Defendant will cooperate in good
23   faith in this transfer and will provide Plaintiffs with all assistance necessary to
24   effectuate this transfer.
25          III.   Damages
26          Defendant shall pay to Plaintiffs the amount set forth in the parties’ settlement
27   agreement dated November 23, 2016, within thirty (30) days of the entry of this
28   Stipulated Permanent Injunction and Final Judgment on Consent.
                                             8       Case No. 3:16-CV-00594-JAH-BGS
        PERMANENT INJUNCTION; FINAL JUDGMENT; AND ORDER THEREON
Case 3:16-cv-00594-JAH-BGS Document 30 Filed 01/06/17 PageID.177 Page 5 of 5



 1         IV.   Retention of Jurisdiction
 2         The Court retains jurisdiction over this matter for the purpose of enforcing the
 3   terms of this Permanent Injunction and Final Judgment on Consent.
 4         IT IS SO ORDERED.
 5
 6   Dated: January 6, 2017
 7
                                           ______________________
 8                                         John A. Houston
                                           United States District Judge
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                  9     Case No. 3:16-CV-00594-JAH-BGS
       PERMANENT INJUNCTION; FINAL JUDGMENT; AND ORDER THEREON
